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SANFORD A. KASSEL (State Bar No. 100681)
GAVIN P. KASSEL (State Bar No. 284666)

Wells Fargo Bank Building, Suite #207
334 West Third Street

San Bemardino, California 92401-1823
Telephone: (909) 884-6451
Facsimile: (909) 884-8032

" Email: Office@skassellaw.com

Attomeys for Plaintiff

ll BEVERLY RosALEs,
Plaintiff,
v.
AMAZON FULFILLMENT SERVICES;
GOLDEN STATE FC, LLC; and Does 1 through
l 00, Inclusive,

Defendants.

WW\/W\/WW\/

 

 

Sanford A. Kassel, A Professional Law Corporation

dTaSe 5:19-Cv-00537-CAS-SHK Document 1-1 Filed 03/25/19 Page 1 of 18 Page |D #:6

FlLED

Superior Court of Cal_ifornia
County of Rlverslde

1111/2019
E.Escobedo

By Fax

SUPERIOR COURT OF THE STATE OF CALIFORNIA
IN AND FOR THE COUNTY OF RIVERSIDE - HISTORIC COURTHOUSE

Case Number: RlC1900658

(1) WRoNGFUL DISCHARGE IN
vloLATIoN oF PUBLIC PoLICY;

(2) GENDER/sEX/PREGNANCY
DISCRlMlNATIoN;

(3) DlsABILlTY mscRIMINATIoN;
(4) FAILURE To ACCoMMoDATE;
(s) FAILURE To PREVENT
DISCRIMINATION;

(6) DISPARATE IMPACT
DIsCRIMlNATIoN;

Plaintiff BEVERLY ROSALES alleges as follows:
GENERAL ALLEGATIONS

Riverside.

 

and actionable conduct as alleged herein.

l

l. Plaintiffnow, and at all relevant times has, resided in the City of Moreno Valley, County of

2. At all times alleged herein, plaintiff was employed by defendants AMAZON FULFILLMENT
SERVICES, INC., GOLDEN STATE FC, LLC and Does l through 50, and each of them, who resided in
and conducted business in Riverside County, Califomia, and the defendants' conduct hereinafter alleged
occurred in said County and State. In addition, at all times alleged herein defendants Does 51 through 100,

inclusive, and each of them, were plaintiff’ s direct and immediate supervisors and engaged in the unlawful

COMPLAlNT FOR DAMAGES

 

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C|lase 5:19-cv-00537-CAS-SHK Document 1-1 Filed 03/25/19 Page 2 of 18 Page |D #:7

3. Plaintiff is informed and believes and on that basis alleges that defendants AMAZON
FULFILLMENT SERVICES, INC., GOLDEN STATE FC, LLC and Does l through 50, inclusive, and each
of them, were corporations and/or other business entities form unknown conducting business in the State
of California, County of Riverside.

4. Plaintiff is informed and believes and on that basis alleges that defendants Does 51 through
100, inclusive, and each of them, were at all relevant times individuals residing and working in the County
of Riverside, State of Califomia.

5. The true names and capacities of defendants named as Does 1 through Doe 100, inclusive,

are presently unknown to plaintiff Plaintiff will amend this complaint, setting forth the true names and

capacities of these fictitious defendants when they are ascertained Plaintiff is informed and believes andion n

that basis alleges that each of the fictitious defendants has participated in the acts alleged in this complaint
to have been done by the named defendants

6. Plaintiff is informed and believes and on that basis alleges that, at all relevant times, each of
defendants, whether named or nctitious, was the agent or employee of each of the other defendants, and in
doing the things alleged to have been done in the complaint, acted within the scope of such agency or
employment, or ratified the acts of the other. Moreover, at all relevant times there existed such a unity of
interest and ownership between the corporation and its equitable owner that no separation actually existed
and an inequitable result if the acts in question are treated as those of the corporation alone.

FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION'

7. On or about April 3, 201 7 plaintiff became employed by defendants AMAZON FULFILLMENT
SERVICES, INC., GOLDEN STATE FC, LLC and Does l through 50, and each of them, as an ISQA tote
auditor. At all times, plaintiff adequately and competently performed her job duties and responsibilities and
was otherwise an exemplary employee. _

8. On or about October 15, 2018, plaintiff advised defendants and each of them that she was
pregnant. In doing so, plaintiff provided defendants and each of them with paperwork noting her pregnancy

status and sought reasonable accommodations based upon her disability.

2
COMPLAlNT FOR DAMAGES

 

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l 9. On or about November 29, 2018, defendants and each of them wrongfully terminated plaintiffs

2 employment, falsely claiming that the termination was due to plaintiff having accumulated too much time

3 off task (TOT) in performing her job duties and responsibilities

4 10. In engaging in the above conduet, defendants and each of them did so due to plaintiff s

5 pregnancy, disability, and gender.

6 FIRST CAUSE OF ACTION

7 (Wrongful Discharge in Violation of Public Policy

g against All Defendants)

9 ll. Plaintiff incorporates each and every other allegation of this Complaint as though fully set
10 forth herein.

n ll ii12:j in engaging in the conduct as described herein, defendants and each of them unlawfully
12 discriminated against plaintiff based on her gender, pregnancy, and disability in violation of various laws,
13 including but not necessarily limited to the Fair Employment and Housing Act (“FEHA) as set forth in
14 Government Code section 12940, et seq. and the California Constitution, Article l, section 8 and California
15 Labor Code Section 233 (Kincare Act).

16 13. As a result of defendants‘ discriminatory and unlawful actions against her, plaintiff has suffered
17 and continues to suffer damages, in the form of lost wages and other employment benefits, and severe
18 emotional and physical distress, the exact amount of Which will be proven at trial.

19 14. Defendants and each of them acted for the purpose of causing plaintiff to suffer financial loss
20 and severe emotional distress and physical distress and are guilty of oppression and malice, justifying an
21 award of exemplary and punitive damages

22 SECOND CAUSE OF ACTION

23 §Gender/Sex/Preggancy; Discrimination as against All Defendants[

24 15. Plaintiff hereby incorporates each and every other allegation of this Complaint as

25 though fully set forth herein.

26 16. ln engaging in the conduct as described herein, defendants and each of them unlawfully
27 discriminated against plaintiff based on her gender/sex/pregnancy in violation of various laws, including but
28 not necessarily limited to the Fair Employment and Housing Act (“FEHA) as set forth in Government Code

 

3
COMPLAlNT FOR DAMAGES

 

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sections 12926(r)(l), 12945(a)-(b) and 29 CFR §§ 1604.1-1604.11.

17. On December 13, 2018, plaintiff filed with the California Department of Fair Employment and
Housing (DFEH) a complaint charging defendants with various acts, including but not necessarily limited
to discrimination and retaliation in violation of the Califomia Fair Employment and Housing Act (FEHA).
A true and correct copy of the FEHA complaint attached herewith as Exhibit A. On December 13, 2018 the
DFEH issued to plaintiff a right-to-sue letter, a true and correct copy of which is attached herewith as
Exhibit B.

18. As a result of defendants' discriminatory and unlawful actions against her, plaintiff has suffered
and continues to suffer damages, in the form of lost wages and other employment benefits, and severe
emotional and physical distress, the exact amount of which will be proven at trial.

19. Defendants and each of them acted for the purpose of causing plaintiff to suffer financial loss
and emotional distress and physical distress and are guilty of oppression and malice, justifying an award of
exemplary and punitive damages

THIRD CAUSE OF ACTION
§For Disabilig Discrimination as Against All Defendantsl

20. Plaintiff hereby incorporates each and every other allegation of this Complaint as though fully
set forth herein.

21 . The California pregnancy disability leave law (“PDLL”), Gov.C. § 12945(a), is part of the FEHA
and requires employers to provide employees up to four months of leave for disability due to an employee's
pregnancy, childbirth or related medical conditions In addition, an employer must provide “reasonable”
accommodation to an employee “affected by pregnancy,” if she so requests, based on the advice of her health
care provider. [2 Cal.C.Regs. § 11040 (a)(l),(2); see Gov.C. § 12945(a)(3)(A)]

22. It is an unlawful employment practice for a covered employer to interfere with, restrain or deny
the exercise of or the attempt to exercise any rights under the PDLL. [Gov.C. § 12945(a)]

23. In engaging in the conduct as described herein, defendants and each of them unlawfully
discriminated against plaintiff based on her pregnancy and related medical conditions, and violated the

provisions of FEHA and the PDLL as referenced above.

4
COMPLAlNT FOR DAMAGES

 

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24. On December 13, 2018, plaintiff filed with the Califomia Department of Fair Employment and
Housing (DFEH) a complaint charging defendants With various acts, including but not necessarily limited
to discrimination and retaliation in violation of the California Fair Employment and Housing Act (FEHA).
A true and correct copy of the FEHA complaint attached herewith as Exhibit A. On December 13, 2018 the
DFEH issued to plaintiff a right-to-sue letter, a true and correct copy of which is attached herewith as
Exhibit B.

25. As a result of defendants discriminatory and unlawful actions against her, plaintiff has suffered
and continues to suffer damages, in the form of lost wages and other employment benefits, and severe
emotional and physical distress, the exact amount of which will be proven at trial.

26. Defendants and each of them acted for the purpose of causing plaintiff to suffer financial loss
and emotional distress and physical distress and are guilty of oppression and malice, justifying an award of
exemplary and punitive damages

FOURTH CAUSE OF ACTION
(Failure to Accommodate against All Defendants)

27. Plaintiff incorporates each and every other allegation of this Complaint as though fully set
forth herein.

28. The FEHA requires employers to make reasonable accommodation for the known disabilities
of applicants and employees to enable them to perform a position's essential functions, unless doing so
would produce undue hardship to the employer's operations (Gov.C. § 12940(m); Gov.C. § 12945(a)(3)(A);
2 Cal.C.RegS. § 1 1068(a); see Fz'sher v. Sup. Ct. (Alpha Therapeutic Corp.) (1986) 177 Cal.App.3d 779, 783
[employer had reasonable accommodation obligation to employee with cancer-related medical condition];
A.M. v. Albertsons, LLC (2009) 178 Cal.App.4th 455, 463 [employer's failure to provide reasonable
accommodation for employee's known physical disability constitutes unlawful employment practice].)
“Reasonable accommodation” means that employers have an affirmative duty to accommodate disabled
workers (See Sargent v. Litton Systems, Inc. (ND CA 1994) 841 F.Supp. 956, 962 [employer had duty under
FEHA to make reasonable accommodations to enable disabled employee to get to work].)

29. In engaging in the conduct as described herein, defendants and each of them unlawfully failed

to accommodate plaintiffs disability.

5
COMPLAlNT FOR DAMAGES

 

 

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30. As a result ofdefendants' unlawful actions against him, plaintiff has suffered and continues
to suffer damages, in the form of lost wages and other employment benefits, and severe emotional and
physical distress, the exact amount of which will be proven at trial.

31. Defendants and each of them acted for the purpose of causing plaintiff to suffer financial loss
and severe emotional distress and physical distress and are guilty of oppression and malice, justifying an
award of exemplary and punitive damages

FIFTH CAUSE OF ACTION
(Failure to Prevent Discrimination against All Defendants)

32. Plaintiff incorporates each and every other allegation of this Complaint as though fully set forth
herein.

33. It is an unlawful employment practice in California for an employer “to fail to take all reasonable
steps necessary to prevent discrimination and harassment from occurring.” (Gov.C. § 12940(k).)
Government Code section 12940, subdivision (k) creates a statutory tort action. (Trujillo v. North County
Transz`t Dist. (1998) 63 Cal.App.4th 280, 286; Veronese v. Lucasjilm Ltd. (2012) 212 Cal.App.4th l, 28;
Ellis v. U.S. Securily Assocs. (2014) 224 Cal.App.4th 1213, 1228.)

34. In engaging in the conduct as described herein, defendants and each of them unlawfully failed
to take all reasonable steps necessary to prevent discrimination from occurring and therefore violated the
provisions of FEHA as referenced above.

35. As a result of defendants' unlawful actions, plaintiff has suffered and continues to suffer
damages, in the form of lost wages and other employment benefits, and severe emotional and physical
distress, the exact amount of which will be proven at trial.

36. Defendants and each of them acted for the purpose of causing plaintiff to suffer financial loss
and emotional distress and physical distress and are guilty of oppression and malice, justifying an award of
exemplary and punitive damages

SIXTH CAUSE OF ACTION
(Disparate Impact Emplo§@ent Discrimination against All Defendants)
37. Plaintiff incorporates each and every other allegation of this Complaint as though fully set forth

herein.

6
COMPLAlNT FOR DAMAGES

 

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38. At all material times alleged herein, defendants and each of them had a policy or practice which
had significant adverse effects on persons of protected class like the class to which plaintiff belonged as set
forth herein. At all times, the impact of the defendants’ policy was on terms, conditions and/or privileges
of employment of the protected class, and the employee population in general was not affected to the same
degree by the policy as the protected class The policy was therefore in violation of provisions of the Fair
Employment and Housing Act including, but not limited to, Government Code section 12941 , which prohibit
disparate impact discrimination based on gender and disability Specifically, defendants and each of them
have a PTO (Personal Time Off); UPT (Unpaid Time Off); and Vacation. PTO and vacation are distributed
incrementally, a few hours per pay period. UPT is dispersed on the first day of the quarter in 20 hour chunks.
Personal time and unpaid time off can be used anytime. Vacation must be requested twenty-four hours in
advance, must be approved, and cannot be taken during blackout periods (peak and prime day). This policy
presents a significant hardship for pregnant women such as plaintiff who only had access to a restroom on
the other side of the warehouse from where she was working. Defendants’ TOT policy was such that it was
impossible for a pregnant employee such as plaintiff to comply with it, and pregnant employees such as
plaintiff were only allowed a total of 30 minute TOT's before they were terminated

39. As a result of defendants' policy/practice described above, plaintiff has suffered and continues
to suffer damages, in the form of lost wages and other employment benefits, and severe emotional and
physical distress, the exact amount of which will be proven at trial.

40. Defendants and each of them acted for the purpose of causing plaintiff to suffer financial loss
and severe emotional distress and physical distress and are guilty of oppression and malice, justifying an
award of exemplary and punitive damages

WHEREFORE, plaintiff prays:

1. For compensatory damages according to proof and prejudgment and post-judgment interest
thereon to the extent allowable by law;

2. For exemplary and punitive damages according to proof;

3. For reasonable attorney’s fees and expert witness fees pursuant to statute and law, including

but not necessarily limited to, Government Code section 12965(b) and Code of Civil

Procedure section 1021 .5;

7
COM PLAlNT FOR DAMAGES

 

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4. For costs of suit; and
5. For such other and further relief as the court may deem proper.
Dated: January 10, 2019 Respectfully submitted,

SANFORD A. KASSEL

A Professional L ° Corporati
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SANFORD A. KASSEL
GAVIN P. KASSEL
Attomey for Plaintiff

 

 

8
COMPLAlNT FOR DAMAGES

 

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DF.PARTMENT 0F FAlR EMPLoYMENT & HousiNG orrmorrwr~m~
2218 Kausen Drive, Suite 100 | E|k Grove l CA l 95758

(800) 884-1684 (Voice) l (800) 700-2320 (TI'V) | California's Relay Service at 711

http://www.dfeh.ca.gov l emai|: contact.center@dfeh.ca.gov

 

 

December 13, 2018

Beverly Rosales
11867 Venetian Dr.
Moreno Val|ey, California 92557

RE: Notice to Complainant
DFEH Matter Number: 201812-04504813
Right to Sue: Ftosales / Amazon Fulfil|ment et a|.

Dear Bever|y Flosa|es:

Attached is a copy of your complaint of discrimination filed with the Department of Fair
Employment and Housing (DFEH) pursuant to the California Fair Employment and
Housing Act, Government Code section 12900 et seq. A|so attached is a copy of your
Notice of Case C|osure and Right to Sue.

Pursuant to Government Code section 12962, DFEH will not serve these
documents on the employer. You must serve the complaint separately, to all named
respondents |f you do not have an attorney, you must serve the complaint yourself
Please refer to the attached Notice of Case C|osure and Right to Sue for information
regarding filing a private lawsuit in the State of California. A courtesy “Notice of Fi|ing of
Discrimination Complaint" is attached for your convenience

Be advised that the DFEH does not review or edit the complaint form to ensure that it
meets procedural or statutory requirements

Sincere|y,

Department of Fair Employment and Housing

Case 5:19-cv-00537-CAS-SHK Document 1-1 Filed 03/25/19 Page 11 of 18 Page |D #:16

 

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\\`-I § DEPARTlV|ENT OF FAlR EN|PLOYIV|ENT & HOUS|NG DIRECTORKEV\NK\SH
,'__1` 2218 Kausen Drive, Suite 100 l E|k Grove l CA l 95758

(800) 884-1684 (Voice) 1(800) 700-2320 (TTY) | California's Relay Service at 711
http://w\vw.dfeh.ca.gov lemail: contact.center@dfeh.ca.gov

 

December13,2018

FiE: Notice of Fi|ing of Discrimination Complaint
DFEH l\/latter Number: 201812-04504813
Fiight to Sue: Rosa|es / Amazon Fulfil|ment et al.

To A|| Respondent(s):

Enc|osed is a copy of a complaint of discrimination that has been filed With the
Department of Fair Employment and Housing (DFEH) in accordance with Government
Code section 12960. This constitutes service of the complaint pursuant to Govemment
Code section 12962. The complainant has requested an authorization to file a lawsuit
This case is not being investigated by DFEH and isbeing closed immediately A copy of

the Notice of Case C|osure and Right to Sue is enclosed for your records

Please refer to the attached complaint for a list of all respondent(s) and their contact
information

No response to DFEH is requested or required.

Sincere|y,

Department of Fair Employment and Housing

Case

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COlVlPLAlNT OF EMPLOYMENT D|SCR|IVI|NAT|ON
BEFORE THE STATE OF CALlFORNlA
DEPARTll/lENT OF FA|R ElVlPLOY|VlENT AND HOUS|NG
Under the California Fair Employment and Housing Act
(Gov. Code, § 12900 et seq.)

ln the ll/latter of the Complaint of
Beverly Rosales DFEH No. 201812-04504813

Complainant,
vs.

Amazon Fulfil|ment
410 Terry Ave N
Seattle, Washington 98109

Golden State FC LLC
2021 7th Ave
Seattle, Washington 98121

Respondents

 

1. Respondent Amazon Fulfil|ment is an employer subject to suit under the
California Fair Employment and Housing Act (FEHA) (Gov. Code, § 12900 et seq.).

2. Complainant Beverly Rosales, resides in the City of Moreno Valley State of
California.

3. Complainant alleges that on or about November 29, 2018, respondent took the
following adverse actions:

Complainant was discriminated against because of complainants disability
(physical or mental), pregnancy, childbirth, breast feeding, and/or related medical
conditions and as a result of the discrimination was terminated, denied a Work
environment free of discrimination and/or retaliation, denied reasonable
accommodation for a disability, denied accommodation for pregnancy

Complainant experienced retaliation because complainant requested or used a
pregnancy-disability related accom., requested or used a disability-related
accommodation and as a result Was terminated, denied a work environment free of
discrimination and/or retaliation, denied reasonable accommodation for a disability,
denied accommodation for pregnancy.

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Complaint - DFEH NO. 207872-04504813

Date Filed: December13, 2018

 

 

 

Case 5:19-cv-00537-CAS-SHK Document 1-1 Filed 03/25/19 Page 13 of 18 Page |D #:1

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Additional Complaint Details:

 

 

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_2_
27 Complaint - DFEH NO. 201812-04504813

Date Filed: December13, 2018

 

 

 

Case

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5:19-cv-00537-CAS-SHK Document 1-1 Filed 03/25/19 Page 14 of 18 Page |D #:1

VEFilF|CAT|ON

l, Beverly Rosales, am the Complainant in the above-entitled complaint l have read
the foregoing complaint and know the contents thereof. The same is true of my own
knowledge except as to those matters which are therein alleged on information and
belief, and as to those matters, l believe it to be true.

On December 13, 2018, | declare under penalty of perjury under the laws of the State
of California that the foregoing is true and correct.

lVloreno Val|ey, CA

 

 

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Complaint - DFEH NO. 201812-04504813

Date Filed: December 13, 2018

 

 

Case 5:19-cv-00537-CAS-SHK Document 1-1 Filed 03/25/19 Page 15 of 18 Page |D #:20

 

 

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Case 5:19-cv-00537-CAS-SHK Document 1-1 Filed 03/25/19 Page 16 of 18 Page |D #:21

 

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STATE OF CAl ll'~ORN|A B\isincss (`,onaumer Servicer. and Hoii<inP Ar’enr'\' GQYEBNQB EQMUN }G. RB_QWN §
DEPARTMENT 0F FAiR EiviPLoYiviENT & HousiNG DiRE¢TORKEv'~ mr
2218 Kausen Drive, Suite 100 | Elk Grove | CA l 95758
(800) 884-1684 (Voice) l (800) 700-2320 (TTY) l California's Relay Service at 711

may http://v.'ww.dfeh.ca.gov | emai|: contact.center@dfeh.ca.gov

December 13, 2018

Beverly Ftosa|es
11867 Venetian Dr.
l\/loreno Val|ey, California 92557

RE: Notice of Case C|osure and Right to Sue
DFEH l\/latter Number: 201812-04504813
Right to Sue: Rosales / Amazon Fulfil|ment et al.

Dear Beverly Rosales,

This letter_ inf_orms_ y_o_u that the above; referenced complaint was filed with the

Department of Fair Employment and Housing (DFEH) has been closed effective
December 13, 2018 because an immediate Ftight to Sue notice was requested DFEH
will take no further action on the complaint

 

This letter is also your Right to Sue notice. According to Go\/ernment Code section
12965, subdivision (b), a civil action may be brought under the provisions of the Fair
Employment and Housing Act against the person, employer, labor organization or
employment agency named in the above-referenced complaint The civil action must be
filed within one year from the date of this letter.

To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
Opportunity Commission (EEOC) to file a complaint within 30 days of receipt of this
DFEH Notice of Case C|osure or within 300 days of the alleged discriminatory act,
whichever is earlier.

Sincere|y,

Department of Fair Employment and Housing

Case 5:19-cv-00537-CAS-SHK Document 1-1 Filed 03/25/19 Page 17 of 18 Page lD§M_%w

ArroRNEY oR PARTY wirrrour ATToRNEY r/vame, stare ear number and address).~ FoR couRr use oN/.v
_SANFCRD A. KASSEL (SBN 100 681)
SANFORD A . KASSEL , APLC
334 WEST THIRD STREET , SUITE 207
SAN BERNARDINO, CA 92401
Email: office@ skasselaw . com
Tl=.i.i-:PHoNE No.: 909~884-6451 FA)< No.; 90 9-884-8032
ArToRNEY FoR (Na_mej.» BEVERLY ROSALES
SUPER|OR COURT OF CAL|FORN|Al COUNTY OF RIVERS I DE-
srREET AooREss; 4 050 MAIN STEET
rviAiLiNG AooREss:
ciTY AND ziP cooE: RIVERS I DE , CA 92 5 O l
BRANCH NArviE; HISTORIC COURTHOUSE

CASE NAl\/lE: ROSALES VS. AMAZON ET AL.

 

 

 

 

 

 

XC|V|L CASE COVER SHEET Comp|ex Case De_si_gnation CASE NUMBER:
Uniimited lLimited Counter Joinder R|C1900658
Xg;mount% (Aem°u?jted is Filed with first appearance by defendant JuDGE:
exceeds $25 000) $25 000 or iess> (Cal. Ru|es of Court rule 3.402) DEPT;

 

 

items 1- 6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:

 

 

 

 

Auto Tort Contract Provisiona|ly Complex Civil Litigation
_:_ lAuto (22) ij Breach of contract/warranty (06) (Ca|- Ru|es Of COurt, rules 3~400'3-403)
§ Uninsured motorist (46__) 7 Ru|_e 3 7_49 corrections (09) l:l Antitrust/Trade regulation (03)
otherPi/Po/WD (Personai injury/Propeny" ' , o T__j~consrrucrion defect rior
DamageNVrongful Death) Tort § 3::;::;:;|:€;;[;9()18) :| Mass ton (40)
l_ iAsbestos (04) E::l Other contract (37) I_J Securities litigation (28)
l 7_' iProducr iiabriiry (24) Reai Property ij Environmenrai/Toxicrori (30)
:7 71_ Medica| malpractice (45) ij Eminent domain/inverse l l insurance coverage claims arising from the
!`_':`: Other p|/pD/WD( (23) CO"demnatiOn (14) above listed provisionally complex case
Non P|/PD/WD (Other) Tort |: WfOnngl eVlCllO!`l (33) types (41)
:L__ _ Buslness tort/unfair business practice (07) [:1 Other real property (25) Enforcement of Judgment
l _____ __! Civil rights (08) Unlawfu| Detainer i::l Enforcement of judgment (20)
l: |Defamation (13) |:l Commercia| (31) Miscellaneous Civil Complaint
____l Fraud (16) '____ Residential (32) l RlCO (27)
j intellectual property (19) E Drugs (38) :_l Other complaint (not specified above) (42)
:i Professional negligence (25) Jucliclal Review Miscellaneous Civil Petition
l:: Other non-Pl/PDNVD tort (35) [:] Asset forfeiture (05) iii Partnership and corporate governance (21)
Employment \:l Petition re: arbitration award (11) l__:j Other petition (not specified above) (43)
l>:i Wrongfu| termination (36) :| Wm of mandate (02)
L; Other employment (15) _;l Other judicial review (39)

2. This case i__:l is lTl is not complex under rule 3.400 of the California Ru|es of Court. lfthe case is complex, mark the

factors requiring exceptional judicial management
a. l _ Large number of separately represented parties d. l l Large number of witnesses

b. :7:1 Extensive motion practice raising dichult or novel e. l l Coordination with related actions pending in one or more courts
issues that will be time-consuming to resolve in other counties, states, or countries or in a federal court
c. ,_j; Substantial amount of documentary evidence f. l m l Substantiai postjudgmentjudicia| supervision

Remedies sought (check a/l that app/y): a. [X"] monetary b. l:\ nonmonetary; declaratory or injunctive relief c. Fji punitive
Number of causes ofaction (specii§/): 6 - WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY

. This case i# is l»j is not a class action suit
if there are any known related cases, f` le and serve a notice of related case. (You y
Date: JANUARY 10, 2019

SANFORD A. KASSEL (SBN 100681)
rTYPE 0R PRiNT NAME) rsrcNATuRE oF PARTY oR Ai'.'oRNEv FoR PARTY)

NOT|CE

o Plaintiff must file this cover sheet with the Hrst paper died in the action or proceeding (except small claims cases or cases filed
under the Probate Code. Family Code, or Welfare and institutions Code). (Cal. Ru|es of Court rule 3.220.) Failure to me may result
in sanctions

. Fi|e this cover sheet in addition to any cover sheet required by local court ru|e.

» if this case is complex under rule 3.400 et seq. of the California Ru|es of Court, you must serve a copy of this cover sheet on all
other parties to the action or proceeding

o Unless this is a collections case under rule 3.740 or a complex casel this cover sheet will be used for statistical purposes only.

Page1 of 2

Form i\dopled for_ Manda_lory lee C|V|L CASE COVER SHEET S{_llle§l:]ls Ca|. Ru|es of Court, rules 2.30, 3.220. 3.400-3.403, 3.740;
SUO

Judicial Council of California Cal. Standards of Judiciai Administraliorix sld. 3.10
CM-010 lRev. July 1_ 2007]

.O>vrz>.<»>

 

 

 

 

 

PUS

Case 5:19-cv-00537-CAS-SHK Do m n 1-1 F'l 03 25 19 P 18 fla P -
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To Plaintiffs and Others Fi|ing First Papers. |f you are Hling a first paper (for example, a complaint) in a civil case, you must
complete and fi|e, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet in item t, you must check
one box for the case type that best describes the case. |f the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. if the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party, its
counsel, or both to sanctions under rules 2.30 and 3.220 of the California Ru|es of Court.

To Parties in Rule 3.740 Co|lections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
propertyl servicesl or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real propertyl (4) recovery of personal property, or (5) a prejudgment writ of attachment
The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general time-for-service
requirements and case management rules, unless a defendant nies a responsive pleading. A rule 3.740 collections case will be subject
to the requirements for service and obtaining a judgment in rule 3.740.

To Parties in Complex Cases. in complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex if a plaintiff believes the case is complex under rule 3.400 of the California Rules of Couit, this must be indicated by
completing the appropriate boxes in items 1 and 2. lf a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on ali parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complexl orl if the plaintiff has made no designation, a designation that

the case is complex.

Auto Tort
Auto (22)-Personal injury/Property
fig .DMQ§M§QQQ£H! D:a":
Uninsured lVlotorist (46) (if the
case involves an uninsured
motorist claim subject to
arbitration, check this item
instead of Auto)
Other Pl/PDNVD (Personal injuryl
Property DamageNVrongfui Death)
Tort
Asbestos (04)
Asbestos Property Damage
Asbestos Personal lnjury/
Wrongful Death
Product Liability (not asbestos or
toxic/environmental) (24)
Medica| l\llalpractice (45)

CASE TYPES AND EXAMPLES

Contract
Breach of Contract/Warranty (06)
Breach of Rental/Lease
" ' *Contr'a"ctfmotfun/awfulde'talrfer’ ' '
or wrongful eviction)
Contract/Warranty Breach-Se||er
Plaintiff (not fraud or negligence)
Negligent Breach of Contractl
Warranty
Other Breach of Contract/Warranty
Coliections (e.g.l money owedx open
book accounts) (09)
Co||ection Case-Seller Plaintiff
Other Promissory Note/Coilections
Case
insurance Coverage (not provisional/y
complex) (18)
Auto Subrogation
Other Coverage

Provislonaily Complex Civil thigation (Cal.

Rules of Court Rules 3.400-3.403)
A“titr,' '§!TBde;ResulatiQn-,t@§)
Construction Defect (10)
Ciaims involving Mass Tort (40)
Securities Litigation (28)
Environmentall'l`oxic Tort (30)
insurance Coverage C|aims

(arising from provisional/y complex

case type listed above) (41)
Enforcement of Judgment
Enforcement of Judgment (20)

Abstract of Judgment (Out of
County)

Confession of Judgment (non~
domestic relations)

Sister State Judgment

Medi¢ai Maipractic& Other Contract (37) Administrative Agency Award
Physicians & Surgeons Contractua' Fraud (’70t Unpaid tSXSS)
Other Profe$$iona| Health Care Other Contract Dispute Petition/Certification of Entry of

l\llalpractice
Other Pl/PD/VVD (23)

Real Property
Eminent Domain/inverse

Judgment on Unpaid Taxes

Other Enforcement of Judgme

Premises Liabilit e. ., sli Condem"iation (14) Case
and fa|l) y ( g p WlOanU| EViniOn (33) Miscellaneous Civil Complaint
Other Real Property (e.g., quiet title) (26) RiCO (27)

intentional Bodily injury/PD/VVD
(e.g.. assault, vandalism)

intentional infliction of
Emotional Distress

Negligent infliction of
Emotional Distress

Other P|/PD/VVD

Non~Pl/PD/WD (Other) Tort

Business Tort/Unfair Business
Practice (07)

Civil Rights (e.g.. discrimination,
false arrest) (not civil
harassment) (08)

Defamation (e.g.. slanderl iibel)
(13)

Fraud (16)

intellectual Property (19)

Professiona| Negligence (25)
Lega| Ma|practice
Other Professiona| Ma|practice

(not medical or /egal)

Other Non-P|/PD/VVD Tort (35)

Employment
Wrongful Tenhination (36)
Other Employment (15)

Writ of Possession of Real Property
i\/lortgage Foreclosure
Quiet Tit|e
Other Real Property (not eminent
domain, landlord/tenant, or
foreclosure)

Unlawfui Detainer

Commercia| (31)

Residentia| (32)

Drugs (38) (if the case involves illegal
drugs, check this item,' otherwise,
report as Commercial or Residential)

Judicial Revlew

Asset Forfeiture (05)

Petition Re: Arbitration Award (11)

Writ of Mandate (02)
Writ-Administrative Mandamus
Writ-Mandamus on Limited Court

Case Matter
Writ-Other Limited Court Case
Review

Other Judicial Review (39)

Review of Health thcer Order
Notice of Appeal-Labor
CommissionerAppeals

Other Complaint (not specified
above) (42)
Declaratory Relief Only
injunctive Relief Only (non-
harassment)
Mechanics Lien
Other Commercia| Complaint

nf

Case (non-tort/non-complex)

Other Civil Complaint
(non-tort/non-complex)
Miscellaneous Civil Petition
Partnership and Corporate
Governance (21)
Other Petition (not specified
above) (43)
Civil Harassment
Workp|ace Vio|ence
Eider/Dependent Aduit
Abuse
Eiection Contest
Petition for Name Change
Petition for Relief from Late
Ciaim
Other Civil Petition

 

civi-oio [Rav July t, 2007]

C|V|L CASE COVER SHEET

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